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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF TENNESSEE
NASHVILLE DIVISION

BRIAN P. MANOOKIAN,
Plaintiff,

VS.
Civil Action No.

UNITED STATES OF AMERICA,
MERRICK GARLAND, in his official
capacity as Attorney General of the
United States, and the FEDERAL
BUREAU OF INVESTIGATION,

Defendants.

 

 

COMPLAINT

 

For his complaint, Plaintiff Brian P. Manookian alleges the following upon
actual knowledge with respect to himself and his own acts, and upon information and
belief as to all other matters:

NATURE OF THE ACTION

This is an action under the Gun Control Act of 1968, 18 U.S.C. § 921, et. al.,
(“GCA”) and the Second Amendment of the United States Constitution to correct an
error within the National Instant Criminal Background Check Systems (“NICS”)
which improperly and erroneously indicates that the Plaintiff, Mr. Manookian, is a

person prohibited from possessing or receiving a firearm.

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Despite being legally permitted to own a firearm — indeed, Mr. Manookian has
passed numerous state and federal background checks for firearm ownership over the
years and has even owned one of the largest gun stores in the Southeast — the Plaintiff
has recently been denied a firearm as a result of incorrect information maintained in
the NICS database by the Federal Bureau of Investigation (“FBI”). Mr. Manookian
believes the FBI has confused Mr. Manookian with another individual with the same
last name or has otherwise added or failed to update incorrect information about him
within the records it relies upon to implement and enforce the GCA.

The GCA provides that a person denied a firearm “due to the provision of
erroneous information relating to the person by any State or political subdivision
thereof, or by the nation instant criminal background check system...; or who was not
prohibited from receipt of a firearm...”

may bring an action against the State or political subdivision
responsible for providing the erroneous information, or responsible for
denying the transfer, or against the United States, as the case may be,
for an order directing that the erroneous information be corrected or that
the transfer be approved, as the case may be. In any action under this
section, the court, in its discretion, may allow the prevailing party a

reasonable attorney's fee as part of the costs.

18 U.S.C. § 925A. Emphasis added.
The right to bring this action seeking an order from this specific Court

directing these particular Defendants to correct false, disqualifying information

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maintained about the Plaintiff is additionally contained in the Code of Federal
Regulations.

An individual may also contest the accuracy or validity of a disqualifying
record by bringing an action against the state or political subdivision
responsible for providing the contested information, or responsible for
denying the transfer, or against the United States, as the case may be,

for an order directing that the contested information be corrected or that

the firearm transfer be approved.

28 C.F.R. § § 25.10(f). Emphasis added.

Accordingly, Brian Manookian files this suit for injunctive and declaratory
relief. He seeks an injunction requiring the Defendants to correct any and all
incorrect information regarding the Plaintiff contained within its records as those
records relate to the ownership, possession, receipt, sale, or transfer of a firearm. Mr.

Manookian additionally seeks a declaratory ruling from this Court confirming that

he is not a “prohibited person” as defined by the GCA. See, 18 U.S.C. § 922(g)

JURISDICTION AND VENUE
1. The Court has primary subject matter jurisdiction under 18 U.S.C. §
925(A). This Court also has federal question jurisdiction under 28 U.S.C. § 1331
which grants federal district courts “original jurisdiction of all civil actions arising
under the Constitution, laws, or treaties of the United States.” This civil action arises

out of the violation of the Federal Gun Control Act as well as the Second Amendment

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to the United States Constitution. This Court may issue declaratory judgment
pursuant to 28 U.S.C. § 2201.

2. The Court has jurisdiction over each of the defendants because each
defendant is the United States of America, a Federal Agency, or sued in his capacity
as an employee or agent of the United States of America.

3. Venue is proper in this Court under 28 U.S.C. § 1391 because a
substantial part of the events or omissions giving rise to this action occurred in this
district.

PARTIES

A, Plaintiff Brian Manookian is a U.S. citizen and resident of the State of
Tennessee.

5. Defendant United States of America is a sovereign state and political
division consisting of the fifty states of the union.

6. Defendant Merrick Garland is the United States Attorney General. He
is sued in his official capacity.

7. Defendant Federal Bureau of Investigation is an agency of the United
States of America that maintains the NICS system and database and otherwise

operates, implements, and enforces the directives of the GCA.

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SUBSTANTIVE ALLEGATIONS

The Regulatory Framework Implemented
and Enforced by the Defendants

8. The United States regulates firearm manufacture and distribution
through the Gun Control Act of 1968, 18 U.S.C. § 921, et. al.

9. The GCA prohibits certain categories of people, including those
convicted of certain felonies, from shipping, transporting, possessing, or receiving
firearms or ammunition. 18. U.S.C. § 922(g).

10. As amended by The Brady Handgun Violence Prevention Act, Pub. L.
103-105, 107 Stat. 15386 ("Brady Act"), the GCA requires firearms dealers to contact
the FBI to conduct background checks of persons attempting to purchase firearms.
18 U.S.C. §§ 922(t)(1)-(2). The FBI uses NICS to conduct the checks. 28. C.F.R. §
25.1.

11. The Brady Act empowered the Attorney General to create NICS
regulations; those regulations are set forth in 28 C.F.R. §§25.1 to 25.11.

The Plaintiffs Status as a Legal Firearm Owner
and History of Firearm Ownership

12. Mr. Manookian lives in Nashville, Tennessee where he has resided for
more than twenty (20) years. He was born in Hendersonville, Tennessee in 1981. He
is a natural born citizen of the United States of America.

13. Mr. Manookian has a right under the Second Amendment of the United

States Constitution to own and possess a firearm. Mr. Manookian is not a “prohibited

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person” as defined by the GCA. Mr. Manookian meets all requirements to lawfully
purchase, possess, own, sell, and transfer a firearm.

14. Mr. Manookian has successfully passed serial background checks
through the NICS system when purchasing firearms in the past. Mr. Manookian has
additionally been subjected to review, scrutiny, and investigation by the Bureau of
Alcohol, Tobacco, Firearms, and Explosives far beyond that of the average citizen in
previously owning and operating a large firearms retailer and shooting range — all of
which he passed successfully.

The FBI’s Erroneous Determination as to Plaintiffs
Legal Qualification to Own or Possess a Firearm

15. On November 29, 2022, Mr. Manookian received a letter from the United
States Department of Justice, Bureau of Alcohol, Tobacco, Firearms and Explosives,
National Firearms Division signed by Mr. Brian Martin (hereinafter “the Denial
Letter’).

16. The Denial Letter reported that Mr. Manookian had been denied the
transfer, receipt or possession of a firearm as a result of a determination by the
Federal Bureau of Investigation that Mr. Manookian is a “prohibited person” under
the GCA. The Denial Letter further reported that such a determination had been
made by the FBI through the operation of the NICS system in accordance with the
procedures mandated by the Gun Control Act.

17. The Denial Letter stated that Mr. Manookian was being denied transfer,

receipt, or possession of a firearm as a result of information maintained within the

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FBI’s records and that his application “has been disapproved... based on the FBI
reporting a status of ‘denied’ based on the required NICS background check.”
Plaintiff's Injury and Ongoing Damages as a Result of

the FBI’s Erroneous Records and Reporting about the Plaintiff

18. But Mr. Manookian is not a “prohibited person” as defined by the Gun
Control Act. To the contrary, Mr. Manookian is lawfully permitted to possess, own,
and receive a firearm under all relevant federal and state statutes as well as the
Second Amendment to the Constitution.

19. Upon information and belief, the FBI has entered or is maintaining
erroneous information about the Plaintiff within its records utilized to implement and
enforce the GCA, including within the NICS background check system.

20. Mr. Manookian has been harmed by the FBI’s actions in entering or
maintaining erroneous information about Mr. Manookian in that such action has
deprived and infringed upon Mr. Manookian’s constitutional right to own or possess
a firearm.

21. Mr. Manookian will continue to be harmed by the FBI’s actions in
entering or maintaining erroneous information about Mr. Manookian in that such
ongoing action will continue to deprive and infringe upon Mr. Manookian’s
constitution right to own or posses a firearm by resulting in continued denials of
background checks and applications required by the GCA to purchase, own, or possess

a firearm.

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FIRST CLAIM
18 U.S.C. § 925A — Injunctive Relief

22. Plaintiff repeats each and every allegation contained in the paragraphs
above and incorporates by reference each preceding paragraph as if fully set forth at
length herein.

23. The Plaintiff is entitled to an order directing that erroneous information
entered or maintained by the Defendants about the Plaintiff be corrected.

SECOND CLAIM
22 U.S.C. § 2201 — Declaratory Relief

24. Plaintiff repeats each and every allegation contained in the paragraphs
above and incorporates by reference each preceding paragraph as if fully set forth at
length herein.

25.  Thisisacase of actual controversy existing within the jurisdiction of the
United States District Court for the Middle District of Tennessee. Mr. Manookian
seeks a declaration of his rights as set out above, and specifically, a declaration that
he is not a person prohibited from owning or possessing a firearm under the GCA as
described in 18 U.S.C. § 922.

REQUEST FOR RELIEF

WHEREFORE, Mr. Manookian requests that this Court:

A. Enter judgment against Defendants;

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B. Enjoin Defendants from continuing to report or maintain
erroneous information about the Plaintiff within their records and the
NICS system;

C. Order Defendants to remove any erroneous information about
the Plaintiff from their records and the NICS systems;

D. Declare that Plaintiff is not a person prohibited from owning or
possessing a firearm under the Gun Control Act;

E. Award Mr. Manookian his costs and expenses of this action,
including his reasonable attorneys’ fees necessarily incurred in bringing
and pressing this case, as provided in 18 U.S.C. § 925A.

F. Order any other such relief as the Court deems appropriate.

DATED: December 20, 2022

 

 

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